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                  First Tech Federal Credit Union – 7012
Deposit Source   Transactions        Total         Connection to Business

    Cash               9          $688,800.00
   TOTAL                         $688,800.00

                                PAYEES
       Payee                      Count                         Total
    Ian Freeman                     1                       -$104,546.74
  Payward (Kraken)                 15                      -$3,078,000.00
      TOTAL                                                -$3,182,546.74
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                                                                      2 of 2
                                                                         EXHIBIT
Summary of Deposit Sources
                                                                                         2506
                                                                                    ______________
                                                                                      21-cr-00041-JL
Holder: Ian B. Freeman
First Tech Federal Credit Union, Instant Access Rewards 7012 (closed)
Time Period: November 2018 - January 2020
Deposit Source                          Count Total Deposited     Percentage of Total
Bank Fee                                  12             $180.00         0.01%
Cash                                       9         $688,800.00        21.64%
Dividend                                   2             $421.11         0.01%
Freeman, Ian/Free Talk Live               2          $108,384.62        3.41%
Transfer CHK 8014 (Ian B. Freeman)        29       $2,384,376.00        74.92%
Transfer SAV 8006 (Ian B. Freeman)        2              $610.01        0.02%
Grand Total                               56       $3,182,771.74       100.00%


Summary of Payees
Holder: Ian B. Freeman
First Tech Federal Credit Union, Instant Access Rewards 7012 (closed)
Time Period: November 2018 - January 2020
Payee                                   Count     Total Paid       Percentage of Total
Bank Fee                                  15            -$225.00          0.01%
Freeman, Ian B.                            1        -$104,546.74          3.28%
Payward Ventures Inc.                     15      -$3,078,000.00         96.71%
Grand Total                               31      -$3,182,771.74        100.00%




as of December 2, 2022
